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                                                          Marion Superior Court 2                                                Marion County, Indiana




  STATE OF INDIANA                              )        IN   THE MARION COUNTY SUPERlOR COURT
                                                )

  COUNTY OF MARION                              )        CAUSE         NO.

  THE ESTATE OF ELEANOR NORTHINGTON                                            )

                                                                               )

                        Plaintiff,                                             )

                                                                               )

               Vs.
                                                                               3

  THE CITY OF INDIANAPOLIS and                                                 )

  INDIANAPOLIS METROPOLITAN                                                    )

  POLICE DEPARTMENT and JOHN DOE, POLICE                                       )

  OFFICERS,           1-50   In   Their Individual                             )

  and    Official    Capacities and                                            )

  MT.    CALVARY APOSTOLIC CHURCH,                            INC.,            )

                                                                               )

                        Defendants.                                            )



                                                               COMPLAINT

               Comes now          the   Plaintiff,   The Estate   of Eleanor Northington,          and brings the following

  causes of actions against               all   named Defendants and               individual   IMPD   officers   whose    identities


  will   be determined through discovery.

  Parties to Complaint:


          1.   The    Plaintiff,   The Estate         of Eleanor Northington,          whose Administrator        is,   D’ASIA

               MONTGOMERY,                can be served through counsel whose contact information                         is



               below.


          2.    The   City of Indianapolis;


          3.    John Doe      Officers;


          4.    Mt. Calvary Apostolic Church, Inc.                is   a Christian Church located          in   Indianapolis,


                Indiana.     Mt. Calvary            can be served      at   6635   E. 42nd Street Indianapolis, Indiana          46226;
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          On    February   7,
                                                           M
                                2019 Ms. Eleanor Northington, was attending a church service with

          her daughters, son, and son             in   law at Mt. Calvary Apostolic Church;

          Ms. Northington’s youngest daughter                is   under the age of majority;

          Ms. Northington’s son           is   under the age of     majority;


          Ms. Eleanor Northington had long suffered from mental                      illness;


          Ms. Eleanor Northington was massively obese

          At   some    point during the service, Ms. Northington suffered a psychotic episode;


          Ms. Northington began            to act belligerently     towards members of the choir and towards

          the Church Pastor;


          Ms. Northington        left   the sanctuary area of Mt. Calvary          and removed her           clothes;


          At   some    point,   Ms. Northington appeared            in   the sanctuary area     in   a state of undress;

    10. Ms. Northington put her clothes                 back on but continued       to act belligerently,      swearing at

          and   spitting   on congregants and church              staff.



    11. At     some    point,   Ms. Northington was restrained by                members   of the church;


    12.   One congregant         called the police;


    13. At     some    point,   a cloth was placed over Ms. Northington’s mouth apparently to keep

          her   spit   from Ianding on bystanders;

    14.   When IMPD        arrived,      John Doe Officer #1 restrained Ms. Northington                 in   handcuffs.


    15. Ms. Northington          was handcuffed behind her               back;


    16.   An unknown IMPD               officer wrestled   Ms. Northington to the ground on her stomach.

    17.   Upon    information and belief, an            IMPD   officer “placed     a knee” on Ms. Northington’s

          back while she was handcuffed face—down;
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    18.   The   floor of Mt. Calvary   Church   is   covered    in   shag carpeting;

    19.   Ms. Northington audibly      told officers   she could not breathe;

    20.   IMPD   officers ignored    Ms. Northington’s cry about not being able to breathe;

    21. Ms. Northington       was unable    to breathe    and suffocated         to   death   in   the old shag


          carpeting;


    22.   IMPD’s use      of excessive force, principally handcuffs, wrestling Ms. Northington to the


          ground on her stomach, “placing a knee           in   her back”, caused Ms. Northington’s death;

    23. Ms. Northington’s minor        son witnessed      his Mother’s tramatic death;




                                  COUNT1 FOURTH AMENDMENT CLAIM

                             (v   IMPD, CITY   OF INDIANAPOLIS, JOHN DOES)

    24.   The   foregoing paragraphs are incorporated by reference as though                        fully   reinstated


          herein;


    25. In violation of Ms. Northington’s fourth         and Fourteenth Amendment                   Rights, the


          Defendants’ used excessive force to restrain and subdue Ms. Northington;

    26. That excessive force caused Ms. Northington to suffocate to death;


    27. Defendants should          have known   that   handcufﬁng a massively obese women, face

          down    in   shag carpet, would   likely   cause serious      injury or death;


    28.   As   a direct, legal, and proximate result of Defendants’ gross negligence or deliberate


          indifference, or reckless disregard for       an obvious       risk;   Ms. Northington was           killed


          causing economic and emotional losses t0 her estate and minor children.
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                                                         COUNT 2 BATTERY

                                                              (all    Defendants)

    29.   The foregoing paragraphs are incorporated by reference as though                       fully   reinstated


          herein.


    30. Defendants touched Ms. Northington                       in   a rude, angry, or insolent manner.

    31.   Whether by placing a         cloth       over Ms. Northington’s face;

    32.   Or by handcuffing        her;


    33.   Or be   wrestling her to the ground;


    34.   Or by   “placing a   knee        in    her back";

    35.   Or by burying her face            in   deep shag      carpet;


    36.   Or by methods      to    be determined         in   discovery;


    37.   These contacts       constituted separate instances of the tort of battery;


    38. Collectively these batteries led to Ms. Northington’s death;


    39.   As a   direct, legal,    and proximate         result of Defendants’      excessive force, gross

          negligence, deliberate indifference, or reckless disregard for an obvious                      risk,   Ms.

          Northington    was      killed   causing economic and emotional losses to her estate and

          minor children;

    40.   As a   direct, legal    and proximate          result of Defendants’ batteries, Plaintiff,


          Ms. Northington        was   killed,      causing economic and emotional losses to her estate and

          minor children;
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                                                    COUNT          3   NEGLIGENCE

                                                     (Mt. Calvary         Church)

                                                            (All   Defendants)

        41.     The foregoing paragraphs are incorporated by reference as though                           fully   reinstated


                herein;


        42.     Mt. Calvary   owes a duty      to   its   congregants      to   keep    its   parishioners safe;


        43.     Mt. Calvary breached that duty              when one      of   its   Pastors placed a cloth over

                Ms. Northington’s mouth impeding her airways;

        44.     Mt. Calvary’s negligence contributed to the death of Ms. Northington;


        45.     As a   direct, legal,   and proximate         result of Defendants’ batteries, Plaintiff,


                Ms. Northington was        killed   causing economic and emotional losses                  to   her estate and

                minor children;



                                                                          RY PL           orney   ,




                                                                       THE ESTATE OF ELEANOR NORTHINGTON



                                              REQUEST FOR TRIAL BY JURY
                Comes now the       Plaintiff, through the Plaintiff's Attorney, LARRY PLEASANTS,                          and




                                                              (MW
  requests that this cause be set for               trial   by jury.




                                                                                                                   Plaintiff


  Larry Pleasants
  Attorney at Law
  7508 Madison Ave
  lndpls, IN 46227
  PH: 31 7—881-8900
  ID#10661-49
  lar         Iar   leasants.com
